Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8777 Filed 11/01/24 Page 1 of 16




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
__________________________________________________________________

JOHN DOES, et al.,
                                                     File No. 2:22-cv-10209
             Plaintiffs,
v.                                                   Hon. Mark A. Goldsmith

GRETCHEN WHITMER, et al.,                            Mag. Curtis Ivy, Jr.

          Defendants.
__________________________________________________________________


                               JOINT STATEMENT

I.    BACKGROUND
      Since the Court’s decision on September 27, 2024, ECF No. 158, the parties

have engaged in extensive negotiations to narrow the issues remaining which the

Court must decide. As set out below, the parties have made substantial progress.

There are still some issues where the parties are continuing to negotiate, which

reflects the complicated claims, the need to work through the practical implications

of various forms of relief, and the need to consult with clients.

II.   FURTHER PROCEEEDINGS PRIOR TO JUDGMENT
      Further proceedings will be necessary on Count VIII (vagueness). The parties

discussed potential narrowing constructions proposed by Plaintiffs but have been

unable to agree on them. Defendants are unclear how they can step into the shoes of


                                          1
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8778 Filed 11/01/24 Page 2 of 16




the Legislature and narrow the statutory definitions through agreement in civil

litigation. Accordingly, the Court should set a briefing schedule. A proposed sched-

ule for this and other briefing is set forth below. If the parties can agree on narrowing

constructions during briefing, they will notify the Court. The parties will also attach

their respective proposed judgment language for Count VIII.

      The parties ask that while briefing is underway on Count VIII, the Court allow

them to continue to negotiate on the judgment language for Count I. The parties

would also like the opportunity to continue to work on the precise language of the

judgment for the other counts. The parties would file a joint status report after 14

days, attach an updated draft judgment, and identify any further issues needing

judicial resolution.

      The draft judgment has a space to set out the effective date for relief ordered,

which varies by count since the work to implement each count will vary. The parties

request that once the Court determines what relief it will order, it hold a status

conference to address the implementation schedule.

      The parties propose the following schedule:




                                           2
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8779 Filed 11/01/24 Page 3 of 16




 Joint status report with updated proposed judgment, including           14 days
 proposed judgment language on Count I

 Briefing on Count VIII:

 Cross opening motions and briefs by Plaintiffs and Defendants           21 days
 (25 pages)
                                                                         14 days
 Response briefs by Plaintiffs and Defendants (15 pages)

 The parties will attach proposed judgment language for Count
 VIII to their briefing.



III.   TERMS OF THE PROPOSED JUDGMENT UPON WHICH THE
       PARTIES AGREE AND DISAGREE
   A. Overview

       Attached as Exhibit A is a working document that sets out draft language for

a proposed judgment. Due to the complexity of the remedial issues and the array of

decision-makers involved, the parties view it is a work in progress, and both sides

anticipate making further edits as they refine the draft and as the state makes final

decisions about what it wants to do.

       While the parties are continuing to review some of the judgment text, they

have reached agreement on tentative language for much of the judgment. At the same

time, they have identified some areas of disagreement that will require judicial reso-

lution. Where the parties’ proposed language differs, Plaintiffs’ proposed language

is in green highlight and Defendants’ proposed language is in blue.


                                          3
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8780 Filed 11/01/24 Page 4 of 16




      On Count I, the parties are continuing to negotiate over the terms of the

judgment. The parties propose that within 14 days, they provide the Court with a

joint statement that includes either their agreed-upon judgment language for Count

I, or their respective proposed judgment language and their explanations for the areas

of disagreement.

   B. Plaintiffs’ Statement Re Areas of Disagreement

      While most of the reasons for the areas of disagreement are clear from the

attached judgment, Plaintiffs provide some additional context on a few points.

             1. Count II – Retroactive Extension
      In Count II, Plaintiffs alleged that retroactively requiring a person to register

for life violates both the Due Process and Ex Post Facto Clauses of the U.S. Consti-

tution and sought to bar Defendants from enforcing SORA for a term longer than

that in effect at the time of the registrant’s offense. Am. Compl., ECF No. 108,

PageID.2982. The subclass was defined as “members of the primary class who were

retroactively required to register for life as a result of amendments to SORA.” ECF

No. 35, PageID.1117. Plaintiffs intentionally defined the subclass to include anyone

whose term was retroactively extended. This is because SORA was also amended in

1999 to retroactively extend registration terms for pre-1999 registrants. Compare

P.A. 295, sec. 5(3)-(4) (1995), with P.A. 85, sec. 5(6)-(7) (1999). Similarly on Count

VI, Plaintiffs sought to enjoin Defendants from requiring registration for a term


                                          4
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8781 Filed 11/01/24 Page 5 of 16




longer than that in effect at the time of a registrant’s plea. Am. Compl., ECF No.

108, PageID.2983. Plaintiffs did not limit either of the counts or the subclass

definition to retroactive extension of registration terms that occurred only in 2011.

      Plaintiffs believe that the Count II relief should enjoin registration for longer

than the term in effect at the time of the offense.1 Defendants believe the Court

should reinstate the registration terms in effect in 2010, before the 2011

amendments.

      Defendants’ interpretation runs counter to this Court’s opinion and would

require much more litigation before a final judgment could enter. The Court decided

it did not need to reach the plea claim because it “has now determined that SORA

2021 violates the Ex Post Facto Clause, which ruling will prohibit retroactive

enforcement of amendments to SORA,” meaning that “no plea agreements will be

retroactively modified.” Op., ECF No. 158, PageID.8731-8732. The Court also

found it unnecessary to decide Plaintiffs’ due process arguments on Count II. Id.,

PageID.8679, n.16. If Defendants’ proposed relief were correct, both issues would

need to be litigated because some registrants whose terms were extended before

2011, or who pled guilty, would be excluded from relief. For example, a person who

1
  For registrants whose offense predated the creation of SORA, Plaintiffs can agree
to look to the term in effect on October 1, 1995, when SORA was initially adopted.
As a practical matter, it has been more than 25 years since their offenses were
committed and 25 years was the standard registration term when SORA was first
adopted (except for those who reoffended). P.A. 295, sec. 5(3)-(4) (1995).
                                          5
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8782 Filed 11/01/24 Page 6 of 16




pled in 1998 to an offense with 25-year registration and who was retroactively

extended to life in 1999, would not get Count II ex post facto relief under

Defendants’ proposal, but would still have a Count II due process claim and a Count

VI plea claim.

      Moreover, the appropriate relief under the Ex Post Facto Clause is to restore

the original registration terms. The ex post facto doctrine is grounded in the under-

standing that law may not “inflict[] a greater punishment, than the law annexed to

the crime, when committed.” Collins v. Youngblood, 497 U.S. 37, 42 (1990)

(emphasis altered). See also Weaver v. Graham, 450 U.S. 24, 30 (1981) (legislature

may not increase punishment “beyond what was prescribed when the crime was

consummated”). Therefore, the proper remedy is “to apply, if possible, the law in

place when [the] crime occurred.” Id. at 36, n.22. Other courts, after finding that

retroactive extension of registration terms violates the Ex Post Facto Clause, have

restored the registrant’s original registration term.2

      Defendants’ contrary argument is not grounded in caselaw, but solely in foot-

note 31 of the Court’s opinion. Plaintiffs’ reading of that footnote is that the Court

was simply unaware that some registrants’ terms were extended in 1999. The more

telling statement in the Court’s opinion is that the plea claim is moot, which it will

2
 See, e.g., Gonzalez v. State, 980 N.E.2d 312, 321 (Ind. 2013); Quispe Del Pino v.
Md. Dep’t of Pub. Safety & Corr. Servs., 112 A.3d 522, 523, 533 (Md. Ct. Spec.
App. 2015); State v. Letalien, 985 A.2d 4, 26 (Me. 2009).
                                           6
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8783 Filed 11/01/24 Page 7 of 16




not be if registrants’ terms do not go back to the original registration term.

       Finally, while Defendants will need some time to remove all members of the

retroactive extension of registration subclass who have completed their registration

terms, there is no reason Defendants cannot immediately remove the three named

Plaintiffs who have completed their original registration terms. They are daily

experiencing harm. Doe E, for example, has been unemployed for months because

of the registry.

              2. Count VII – Non-Sex Offenses
       The Court held that a “judicial determination [] must be afforded to people

convicted of offenses without a sex element.” Op. 158, PageID.8738. Plaintiffs’

language requires such a judicial determination. Defendants’ language does not.

       Moreover, Plaintiffs didn’t bring just a due process challenge. They also

alleged that it violates equal protection to deny the non-sex offense subclass the same

judicial determination that other people convicted of non-sexual offenses receive

under SORA’s “catch-all” provision. Am. Compl., ECF No. 108, PageID.2972. The

judgment language proposed by both Plaintiffs and Defendants states that it is not

necessary for the Court to reach the equal protection issue because the relief ordered

for the due process violation is coextensive with the relief that Plaintiffs sought for

the equal protection violation. That would not be true, however, if the Court adopted

Defendants’ language on this count. Defendants’ proposed text does not resolve the


                                           7
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8784 Filed 11/01/24 Page 8 of 16




equal protection claim because members of the non-sex offense subclass would not

receive judicial determinations that are comparable to those of the similarly-situated

registrants in the “catch-all” category. Plaintiffs’ language, by contrast, tracks that

in the catch-all provision, M.C.L. § 28.722(r)(vii), and provides that if there are

judicial determinations under the standards and procedures used for catch-all cases,

see M.C.L. § 769.1(12), that would by definition satisfy the requirement for a

judicial hearing. The language is carefully crafted so that it does not mandate a

particular type of hearing, but rather simply states that hearings under M.C.L. §

769.1(12) are satisfactory. If Defendants or the legislature wish to develop some

other procedure, they can do so, but must give Plaintiffs notice so that the adequacy

of any alternative procedure could be assessed.

      Plaintiffs’ paragraph 14 addresses situations where members of the non-sex

offense subclass also have another registrable offense. Defendants state baldly that

many such registrants are not entitled to relief, but have not provided language

spelling out exactly when hearings would be unnecessary.3 Defendants’ language

also entirely fails to account for people with non-Michigan, non-sex offenses.

3
  Plaintiffs offered to dispense with hearings where a subclass member also has (A)
another registrable Michigan conviction for a sexual offense resulting in Tier III
lifetime registration, (B) another registrable Michigan conviction for a sexual
offense results in a registration term that is no longer than the term for the “non-sex
conviction,” or (C) another registrable Michigan conviction that has a sexual element
and involved the same offense conduct on the same date against the same victim as
the “non-sex conviction.” Defendants rejected such language.
                                          8
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8785 Filed 11/01/24 Page 9 of 16




Defendants have still not identified that group or included them in their tallies.

             3. Count XI – Non-Michigan Offenses
      For people with non-Michigan convictions, the Court held that (1) a judicial

hearing is required, and (2) they may not be treated more harshly than people with

similar Michigan convictions. Plaintiffs’ language captures those holdings, while

Defendants’ does not. Plaintiff’s language is also technically precise, which is

important to avoid future disputes. (For example, an injunction against harsher

treatment needs to be clear about the comparison: a generic reference to Michigan

convictions, as Defendants suggest, could lead to confusion.)

        Plaintiffs’ proposed relief here is simple: (1) a bar on registration or enforce-

ment of SORA absent a judicial hearing, and (2) an injunction against worse trea-

tment for out-of-state offenders. There are myriad ways in which Defendants or the

legislature could respond to the Court’s decision. For example, after a federal court

held North Carolina’s procedures for registering people with out-of-state convictions

violated due process, Grabarczyk v. Stein, 2020 WL 2441418 (E.D.N.C. 2020), the

legislature passed a new statute setting our procedures for judicial hearings, includ-

ing appointment of counsel for indigent people. N.C. Gen. Stat. § 14-208.12B.

      Plaintiffs do not believe it is wise use of judicial resources to adjudicate

exactly what process is due, and instead propose that the Court simply enjoin

enforcement of SORA against the non-Michigan offense subclass absent a judicial


                                           9
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8786 Filed 11/01/24 Page 10 of 16




 hearing that complies with due process requirements. The parties have been negoti-

 ating fruitfully about procedures that could be used, and Plaintiffs are hopeful that

 agreement can be reached.

              4. Disputed Language that Recurs Throughout the Judgment
       Persons Bound: Fed. Rule Civ. Proc. 65(d) covers the content and scope of

 injunctions. Subsection (2) sets out the persons who, if they receive notice, can be

 bound: the parties, their “officers, agents, servants, employees, and attorneys,” and

 “other persons who are in active concert or participation” with them. Although

 Plaintiffs’ proposed language tracks Rule 65, Defendants object, preferring that the

 Court only enjoin the named Defendants (Governor Whitmer and Colonel Grady),

 and their agents. Given that SORA is enforced by hundreds of law enforcement

 agencies throughout the state, it is important to follow the language of Rule 65.

       Named Plaintiffs: The named plaintiffs brought this case both in their individ-

 ual capacities and on behalf of all those similarly situated. Defendants believe that

 because the named plaintiffs are members of the class, it is unnecessary to specify

 that they are also entitled to individual relief. But that would leave their individual

 claims unaddressed. Moreover, it is possible (though concededly unlikely) that an

 appellate court might find class-wide relief improper, where individual relief is not.

              5. Preservation of Claims Not Decided
       Plaintiffs do not anticipate appealing the Court’s sensible decision not to


                                           10
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8787 Filed 11/01/24 Page 11 of 16




 decide some claims or reach some legal theories because they overlap with other

 claims or theories that provide equivalent relief. The proposed language is intended

 to forestall any future argument on remand – for example, if the Court’s decision

 were to be reversed in part, or the relief granted were to be limited – that Plaintiffs

 failed to preserve such undecided claims or legal theories.

    C. Defendants’ Statement Re Areas of Disagreement

    The areas of disagreement are specifically set forth in the attached Exhibit A.

 Defendants make a few additional points below.

              1. Retroactive extension subclass

       The Defendants believe that the Court’s opinion is quite clear on what relief

 was granted to the retroactive extension subclass. “[T]his holding means that the in-

 person reporting requirements and retroactive extension of registration terms

 originally introduced in SORA 2011 cannot be applied to registrant who committed

 an offense before SORA 2011 was enacted.” (ECF No. 158, PageID.8699, fn 31.)

 In other words, the registration terms that were in effect prior to the enactment of

 SORA 2011 are applied to those registrants with convictions prior to September 1,

 2011. Public Act 85, sec. 5(6) (1999).

              2. Non-sex offense subclass

       As an initial matter, there are very few registrants that will actually obtain any

 relief from this claim. There are approximately 15 registrants that are currently on

                                           11
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8788 Filed 11/01/24 Page 12 of 16




 the registry with solely a conviction under Mich. Comp. Laws 750.349, .349B, or

 .350. While it is up to a neutral decision maker whether the crimes included a sexual

 component, based on the information provided by the prosecutors during discovery,

 there should be no serious debate that the overwhelming majority of these crimes

 included a sexual element. Six of the 15 registrants are currently incarcerated and

 will be for years.

       There are approximately 168 registrants who have a conviction under Mich.

 Comp. Laws 750.349, .349B, or .350, and another registerable conviction that was

 committed on the same date as the kidnapping, unlawful imprisonment or leading

 away a child. These registrants are not entitled to relief. 137 of these registrants are

 currently incarcerated.

       There are 20 registrants with a conviction under Mich. Comp. Laws 750.349,

 .349B, or .350, and another registerable conviction, but the convictions are on

 different dates.     These registrants may be entitled to some relief.       (i.e., their

 registration terms may be shortened if it is determined that the conviction for

 kidnapping, unlawful imprisonment or leading away a child did not include a sexual

 component.) 11 of these registrants are currently incarcerated.

       The limited relief aside, Defendants understanding of the opinion is that a

 neutral decision maker must make a determination whether the crime included a

 sexual component. Plaintiff’s position seems to be trying to expand SORA’s

                                           12
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8789 Filed 11/01/24 Page 13 of 16




 catchall provision, Mich. Comp. Laws 769.1(12), to include convictions under Mich.

 Comp. Laws 750.349, .349B, or .350. In response to this Court’s opinion, the

 Legislature may decide to do just that, but that is a Legislative decision not a judicial

 one. This Court should not specify the exact mechanism required to comply with

 the opinion. As an aside, Defendants suggest that perhaps the Court could appoint

 a magistrate to assist with making the determinations.

       It is also worth noting, that Defendants believe that since the Lymon opinion

 was issued, the prosecutors have changed their practices and new convictions under

 Mich. Comp. Laws 750.349, .349B, or .350 include a determination as to whether

 there was a sexual component. As a result, the class of individuals entitled to relief,

 should not increase.

              3. Non-Michigan offense subclass.

       There are approximately 3,600 members in this class. There are seemingly

 two buckets of relief – backward looking for existing registrants, and forward

 looking for new registrants with out-of-state convictions.

       Defendants understand the opinion to mean the registrants with out-of-state

 convictions must be given notice and the decision regarding their registration

 obligations must be made by a neutral decision maker. For the backyard looking

 relief, perhaps a magistrate could be utilized to determine what category of

 registrants may be entitled to relief. For the forward-looking relief, the Defendants

                                            13
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8790 Filed 11/01/24 Page 14 of 16




 will need time to create a process, which may be a collaborative process with

 Plaintiffs counsel.

              4. Immediate removal of Plaintiffs

       In Plaintiffs proposed judgment they are seeking the immediate removal of

 the named plaintiffs for the claims where they are entitled to relief. Defendants do

 not see the need to further complicate the relief process by ordering the removal of

 the named plaintiffs first. The relief granted will be tremendously complicated and

 time consuming for MSP to effectuate. In any event, most of the named plaintiffs

 are not even on the public registry so there will be no practical effect by ordering

 them to be “removed” first.

 IV.   FURTHER PROCEEEDINGS AFTER JUDGMENT
       The parties anticipate that, after judgment, the following proceedings will or

 may be needed:

       A. Court Approval of a Notice Process and Notices

       The Court will need to decide on the contents, timing of notices and the

 logistics. The draft judgment includes provisions, modeled on the judgment in Does

 II v. Snyder, No. 16-cv-13138, ECF No. 126 (E.D. Mich.), requiring the parties to

 submit for the Court’s approval post-judgment a joint proposed process for notice

 and proposed notices for registrants, prosecutors, and law enforcement, and if the

 parties cannot agree, their respective proposed notice process and proposed notices.


                                         14
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8791 Filed 11/01/24 Page 15 of 16




       B. Reporting to Enable Post-Judgment Monitoring

       The Court will need to decide what information Defendants should provide to

 Plaintiffs, if any, to enable post-judgment monitoring to ensure that the Court-

 ordered relief is implemented. The draft judgment includes proposed language from

 Plaintiffs providing that after judgment, the parties will submit a joint proposed

 process for post-judgment monitoring. Defendants’ position is set forth in the draft

 judgment.

       C. Stay Motions

       Defendants anticipate that they may seek a stay of the injunctive relief granted

 on Counts I and II, although a final decision has not been made yet. Defendants do

 not anticipate seeking a stay on Counts VII, IX, X, XI, which they most likely will

 not appeal. However, if a reasonable process cannot be agreed upon for the out-of-

 state subclass Defendants may seek a stay and appeal. The parties anticipate being

 able to agree on a briefing schedule for any stay motions.

       D. Attorney’s Fees and Costs

       In the interest of conserving the Court’s and the parties’ resources, the parties

 propose deferring briefing on attorney’s fees and costs until the conclusion of all

 appeals. The draft judgment includes provisions that the parties have agreed to and

 courts have approved in other cases, including Does I and II.



                                          15
Case 2:22-cv-10209-MAG-CI ECF No. 159, PageID.8792 Filed 11/01/24 Page 16 of 16




 V.    PROPRIETY OF THE GOVERNOR AS A DEFENDANT

       No additional briefing will be required to address the issue of the propriety of

 the Governor of Michigan being a defendant in this action, as the Defendants have

 elected not to pursue that defense in this case.


 Respectfully submitted,

 s/ Miriam Aukerman (P63165)                    s/ Paul D. Reingold (P27594)
                                                Cooperating Counsel, American Civil
 Miriam J. Aukerman                               Liberties Union Fund of Michigan
 Attorneys for Plaintiffs                       Attorney for Plaintiffs
 American Civil Liberties Union                 Univ. of Michigan Law School
   Fund of Michigan                             802 Legal Research Building
 1514 Wealthy SE, Suite 260                     801 Monroe Street
 Grand Rapids, MI 49506                         Ann Arbor, MI 48109-1215
 (616) 301-0930                                 (734) 355-0319 - pdr@umich.edu
 maukerman@aclumich.org
                                                s/ Roshna Bala Keen (Ill. 6284469)
 s/ Daniel S. Korobkin (P72842)                 Loevy & Loevy
 s/ Syeda Davidson (P72801)                     Attorney for Plaintiffs
 American Civil Liberties Union                 Cooperating Counsel, American Civil
   Fund of Michigan                               Liberties Union Fund of Michigan
 Attorney for Plaintiffs                        311 North Aberdeen, 3rd Floor
 2966 Woodward Avenue                           Chicago, Illinois 60607
 Detroit, MI 48201                              (312) 243-5900 - roshna@loevy.com
 (313) 578-6824
 dkorobkin@aclumich.org                         /s/ Eric M. Jamison (P75721)
                                                Assistant Attorney General
                                                Attorney for Defendants
                                                Michigan Dep’t of Attorney General
                                                State Operations Division
                                                P.O. Box 30754
                                                Lansing, MI 48909
                                                (517) 335-7573
                                                jamisone@michigan.gov


                                           16
